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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                       District
                                                 __________     of Connecticut
                                                             District of __________

                  United States of America
                             v.                                     )
             In the Matter of the Extradition of                    )         Case No.        3:20MC68(SALM)
          Piotr Jan GRABOWSKI a/k/a "Walerek"                       )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Piotr Jan GRABOWSKI a/k/a "Walerek"                                                                                    ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information          u Superseding Information                   ✔ Complaint
                                                                                                                              u
u Probation Violation Petition              u Supervised Release Violation Petition             u Violation Notice            u Order of the Court

This offense is briefly described as follows:
  Pursuant to 18 U.S.C. § 3184, being a fugitive from Poland, which has requested extradition, under the extradition treaty
  between the United States and Poland, for (1) rape and (2) participating in a brawl or beating leading to injury, in violation
  of Polish criminal law.




Date:         08/26/2020                                                Sarah A. L. Merriam, U.S.M.J. Digitally   signed by Sarah A. L. Merriam, U.S.M.J.
                                                                                                          Date: 2020.08.26 14:34:32 -04'00'

                                                                                           Issuing officer’s signature

City and state:       New Haven, Connecticut                                      Sarah A. L. Merriam, U.S. Magistrate Judge
                                                                                                    Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                                Arresting officer’s signature



                                                                                                    Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                        (Not for Public Disclosure)

Name of defendant/offender:             Piotr Jan GRABOWSKI

Known aliases:             "Walerek"

Last known residence:                 189 Henry St. Greenwich, CT 06830

Prior addresses to which defendant/offender may still have ties:          42 Richland Ave. Greenwich, CT 06830


Last known employment:
Last known telephone numbers:
Place of birth:           Poland

Date of birth:            12/10/1978

Social Security number:
Height:                                                                Weight:
Sex:      M                                                            Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:             United States Marshals Service


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):     n/a
